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        meteor@inorbit.com
        PLAINTIFF IN PRO SE
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        NATHAN SMITH                                                                 . ..
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        11040 OTSEGO STREET                    ~pR ~ ~ ~~                                      ,:
        NORTH HOLLYWOOD
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                               IN THE UNITED STATES DISTRICT COURT FOR THE
                                    CENTRAL DISTRICT OF CALIFORNIA



        NATHAN SMITH
                                      L A C V 21- 3 2~ 2- ~2c~~--~c~sx
                                                                1. Violation of California's
                                                          Unfair Competition Laws (UCL)
             plaintiff                                 California Business and Professional
                                                    Code Section 17200 et seq

                                                       2.Violation of California False
                                                       Advertisement Laws (FAL)
        vs                                           California Business and Profession Code
                                                      sections 17500 et seq

        GIA, Tom Moses, Nathan                         3. Violation of California Consumer
        Renfro, Jennifer Wilson               Legal Remedies Act (CLRA)civil code 1750 et
        Susan Jacques and does 1-50             seq
        defendants




                                                   (demand for jury trial)




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    Plaintiff Nathan Smith brings this action against the defendants the GIA, Nathan Renfro ,
  Tom Moses and Susan Jacques Jennifer Wilson and does 1-50


  1. NATURE OF ACTION

    Located on the GIA's web site

  "Why doesn't the GIA issue grading reports for colored gemstones?
  "The GIA responses that there is currently no broadly accepted grading system
  for colored gemstones. The grading of colored stones is a highly complex process with
  countless variables that makes a universal grading system difficult to establish."

  "Does the GIA grade sapphire or other colored stones?"
  The GIA does not grade or provide quality analysis for sapphire or other colored stones

  These are the words of the GIA not Plaintiff and these words were advertised on the world
  wide web and the GIA defendant web site by the GIA and their co conspirators.


  2. In the same breathe and through the same advertisement on the world wide web and on

  there web site the Gia defendant and defendants Nathan Renfro, Tom Moses, Susan Jacques and
  Jwilson also begin offering services for colored gemstone grading despite the fact the

  defendants previously and currently advertising that they had no expertise or universal

  grading system in place to grade colored gemstones or colored diamonds.

  This action targets the Gia unlawful, unfair, and fraudulent business practices of providing

  colored gemstone and colored diamonds grading services that they advertise on there web
  site
  even though these colored gemstones grading services according defendant GIA cannot be

  provided because according to the Gia and the other defendants. "The complexity and lack of
  universal accepted standards for the colored gemstones grading services and the fact that the

  GIA does not provide these services according to their own advertisement and statements to

  Plaintiff and the Public". does not allow them to provide colored gemstone grading services.
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  3.The result is a fraudulent grading services that is being provided to the public by the GIA
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n




      and the other named defendants even though they lack the capabilities and universal standards

      and expertise to provide these services based on the GIA own admissions and advertisements.

      The result is the consumers and Plaintiff paying to get their color diamonds and gemstone

      graded by the GIA who is well aware that they lack the capacity,universal standards,

      universal broadly accepted grading system for colored gemstones to grade colored gemstones

      based on their own admissions and these colored gemstones would also include colored

      diamonds which is also according to the founder of the GIA a colored gemstone .Hundreds of

      thousands of the bogus grading certificates have been issued by the GIA to the unsuspecting
                                                               -Fh~a.
      public including Plaintiff who also paid for and received tvQe of the bogus and fraudulent

      certificates issues by the GIA and the other defendants. Even though the GIA knew full and well

      that it lack the expertise ,standards and capabilities and broadly accepted grading system for

      grading colored gemstones to issue colored gemstone grading reports. They still issued and are

      issuing on a daily basis thousands of these bogus and fraudulent colored gemstone grading

      reports and also providing their fraudulent colored gemstone grading services. The result also is
      that sham colored gemstone grading certificates are being flooded into the colored diamond

      and colored gemstone market by the GIA defendants and the other named defendants which as

      a direct result and cause and effect has caused harm to Plaintiff and and the consumers of

      America by putting bogus colored diamond and colored gemstone certificates       out into the

      color diamond and colored gemstone market thereby hurting Plaintiff's business consisting of

      selling colored gemstone diamonds and colored gemstones. The defendants actions also harm

      Plaintiff and the consumers chances of knowing which       colored gemstones are real or fake

      and which colored gemstone diamonds are real or fake because The GIA based on their own
                                           3

      admissions and advertisements lacks the capacity to grade colored gemstones so they should
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  not be issuing bogus and fraudulent color gemstone grading certificates or providing colored \\

  gemstone grading services. The GIA greatly benefits from selling the bogus colored gemstones
  and colored diamond grading certificates to the tune of 100 million dollars in sales of the bogus
  and fraudulent colored gemstone grading certificates being fraudulently pushed upon the

  unsuspecting public and Plaintiff.

  4. The California legislature and Federal Regulations prohibit this misleading practice. The
  law

  recognizes the reality that consumers purchase services based on the services being advertised

  as being provided. Accordingly the GIA and the other defendants have an incentive to lie to

  customers by advertising services that they do not have the capabilities of providing.The

  resulting harm is tangible the consumers expectation about the services being provided by the

  GIA is that they are getting a colored diamond which is a colored gemstone and colored

  gemstones grading certificate from individuals who have the capacity and expertise to offer

  such services but based on the

  GIA own admissions these services are unable to be provided by the GIA and Plaintiff or a

  consumer would    not have purchased the services from the GIA if not for their false
                                       2
  claim and advertisement they could provide colored diamond and colored gemstone grading

  services. But based on the GIA defendant and the named defendants own advertisements and

  admissions they had and have no way of providing the colored gemstone grading services that

  they are now illegally providing and provided to Plaintiff and the unsuspecting Public.


  S.The downstream result of the GIA defendants and defendants Tom Moses, Susan Jacques,

  Nathan Renfro and Jennifer Wilson actions is that the colored gemstone prices and the public
                                        4

  and Plaintiff are being harmed and also the colored gemstone diamonds markets and colored

  gemstone markets are being harmed. This is because the GIA defendants and the other
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  defendants actions are flooding the market with colored gemstone grading certificates that

  never should have been issued because the defendant GIA and the other named defendants lack
  the expertise and universal accepted colored gemstone grading system to issue the colored

  gemstone grading certificates or to provide colored gemstone grading services to Plaintiff and

  the public or any one else .The down stream result was also that the GIA defendants and the

  other named defendants illegally profitted from the issuance of these bogus and fraudulent

  colored gemstone grading certificates. The defendants also defrauded Plaintiff and the Public

  by selling and issuing these bogus and fraudulent colored gemstone grading certificates and by
  providing the fraudulent colored gemstone grading services because the defendants were well

  aware that they lacked the expertise, universally accepted standards and capacity to issue the

  bogus and fraudulent colored gemstone grading certificates. The false and misleading

  advertisement of the GIA defendant and the other named defendants acts as a bait and

  switch. The GIA defendants and the other defendants simply advertise that they cant issue

  colored gemstone grading reports or provide colored gemstone grading services and then in the

  same breathe the defendants issue colored gemstone grading reports for colored gemstones

  even though based on the defendants own admissions and advertisements the GIA defendants
  and the other named defendants lack the ability to provide the services that they were

  advertising to Plaintiff and the unsuspecting Public regarding their ability to grade colored

  gemstones.

  6. Tfie GIA defendants and the other named and unnamed defendants' claims and

  advertisement and assertions that they could grade colored gemstones and provide colored
                                              5
  gemstone grading

  services and also issue colored gemstones grading certificates was a complete fabrication. The
  GIA defendant and defendants Nathan Renfro, Susan Jacques, Tom Moses and Jennifer Wilson

  knew full and well that they never had the ability or expertise or universally accepted standards
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  or capabilities to grade colored gemstones or issue colored gemstone diamond grading

  certificates and they should have never advertised that they had these capabilities to Plaintiff
  or the Public in general or sold the bogus and fraudulent certificates to Plaintiff and the

  Public at large. The GIA defendants and co defendants scheme and false advertisement

  tricked Plaintiff and the public into believing that The GIA defendants and the co-

  defendants had the ability to grade colored gemstones and colored gemstone diamonds which

  then induced Plaintiff and the public into using and paying for the GIA defendants and co

  defendants bogus and fraudulent colored gemstone grading service. While unbeknownst to

  Plaintiff and the public the GIA defendants and the co defendants completely lacked the

  capabilities and expertise and universally accepted standards to grade and issue colored

  gemstone certificates and to also provide colored gemstone grading services. This

  based on the GIA defendants and co defendants own admissions and advertisements

  on there web site and the world wide web. The defendants advertised and charged high prices
  for services that did not exist and services that they the defendants knew that they did not

  have the capabilities or expertise to provide and did not provide according to defendants own

  advertisement and admissions. Plaintiff Nathan Smith fail victim to the GIA defendant and co

  defendant illegal schemes.


  7. The Colored Gemstone Grading services and colored gemstone grading certificates offered
  by
  the GIA defendants and the other co defendants are fictitious illegal and fraudulent and
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  deceptive and violates both federal and state laws because the GIA defendants and the co

  defendants knew that they lacked the capacity, expertise and universally accepted grading

  standard to grade and issue colored gemstone grading reports and because the defendants

  admitted and advertised that the GIA defendant and co defendants did not       grade colored
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  gemstones or issue colored gemstones grading reports or certificates or offer colored gemstone

  grading services. Plaintiff Nathan Smith and the Public at large was harmed by the defendants

  illegal scheme. The GIA defendants and co defendants are also charging defendants and

  advertising prices for services that do not exist which is just another blatant violation of both
  Federal and State laws. Plaintiff fail victim to the defendants illegal schemes and suffered

  damages as a direct result of the defendants illegal

  scheme.

  8.Through the GIA defendant and co defendants false and misleading marketing advertising

  and pricing scheme and illegal colored gemstone grading services scheme the GIA defendants

  and the co defendants in a joint conspiracy violated and continues to violate California and

  Federal laws prohibiting advertising goods for sale that are defective ,that dont exist and that
  are not sold as advertised and that harm consumers including Plaintiff. Specifically the GIA

  defendants and Susan Jacques, Tom Moses, Nathan Renfro and Jennifer Wilson violated and
  continues to violate. California Unfair Competition Law, Business and Professions Code

  17200et seq (the UCL)California's False Advertisement Law Business and Profession Code

  17500 et seq (the FAL)The California Consumer Legal Remedies Act ,California Civil Code

  1750 et seq (the CLR.A) and the Federal Trade Commission Act(FTCA)"which prohibits unfair

  or deceptive acts or practices in affecting commerce" (15 U.S.C. 45(a)(1) and false

  advertisement (15 U.S.C. 52(a)).
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  9.Plaintiff Nathan Smith brings this action based on the fact that Plaintiff purchased and
  received one or more of the bogus and fraudulent colored gemstone grading certificates

  and fraudulent colored gemstone diamond grading certificate services from the GIA

  defendant and defendants Tom Moses, Nathan Renfro, Susan Jacques and Jennifer Wilson that
  were deceptively advertised by the defendants and the defendant GIA on there web site and

  the world wide web. The GIA defendant and co defendants knew that they lack the

  capabilities, expertise and universally accepted standards to offer colored gemstone grading
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  services or colored gemstone diamonds grading services. The false offer of colored

  gemstone grading and colored diamond gemstone grading services perception that the GIA

  defendant and co defendants created in the mind of Plaintiff and the Public and the defendants
  other negligent and fraudulent activities is the reason that Plaintiff Nathan Smith is bringing

  this action. The GIA defendants and co defendants deceptively represented the scope of their

  services and expertise when they offered the bogus and fraudulent colored gemstone

  grading services and colored gemstone diamond grading services. Plaintiff Nathan Smith brings

  this action in order to halt the dissemination of this false and misleading and deceptive offer of
  colored gemstone grading and colored gemstone diamonds grading services perception that the

  defendant GIA and co defendants has created in the mind of Plaintiff and the Public by using

  deceptive, misleading and fraudulent advertisement, services and deceptive pricing and in

  order to obtain redress for Plaintiff who purchased and was harmed by the defendants

  deceptive grading scheme and pricing scheme and fraudulent offer of colored gemstone grading

  services. Plaintiff seeks to attain damages, restitution, injunctive relief, equitable relief

  punitive relief and any other available relief as redress for the unjustly enrichment of the GIA

  defendants and co defendants as result of the sale of the bogus and fraudulent sold and ,

  advertised and issued colored gemstone and color gemstone diamond grading certificates which
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  were issued by defendant GIA and the co defendants during their illegal and fraudulent

  scheme against Plaintiff and the Public even though the defendants knew full and well they had

  no legal capacity to do so and did not provide these particular services based on the defendants

  own advertisement and admissions.


  10. Jurisdiction and Venue
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  The Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. 1332(a)


  11. Court has personal jurisdiction of defendants and venue is proper under 28 U.S.C.

  1965(a)

  1391. Defendant GIA is a California non profit which headquartered in California. Defendants

  Susan Jacques, Tom Moses, Nathan Renfro, and Jennifer Wilson all reside in California .Both

  defendants GIA and defendants Tom Moses, Jennifer Wilson, Susan Jacques and Nathan Renfro

  directed their illegal actions herein to California and Plaintiff Nathan Smith residing in

  California.


  Venue is proper under 28 U.S.C. 1391 (B)(2) because the GIA defendants and co defendants
  transact substantial business in this District. A substantial part of the events giving rise to

  Plaintiff Nathan Smith claims arose here

  12. PARTIES


  Plaintiff

  Plaintiff Nathan Smith resides in North Hollywood California. Plaintiff in reliance on the GIA

  defendants and the co defendants fraudulent and false and and deceptive pricing and

  advertisement and grading services purchased two bogus and fraudulent colored gemstone
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  grading reports from the GIA defendant and co defendants from there lab in Carlsbad

  California. Plaintiff Nathan Smith honestly believed that he was getting a colored diamond

  gemstone grading report and colored gemstone grading report services when he purchased the

  bogus and fraudulent colored gemstone grading reports from the GIA defendants and co

  defendants but in actual reality the GIA defendants and co defendants did not offer colored
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   gemstone grading services or colored gemstone diamond grading services and therefore
   should
   have never been selling, advertising or offering services or colored gemstone grading

   certificates at there Carlsbad California GIA LAB. Plaintiff Nathan Smith was damaged in his

   purchase because defendant GIA and the co defendants false advertisement and pricing for

   services that they did not have the capabilities or expertise or universally accepted standards

   to provide fraudulently charged Plaintiff Nathan Smith for services and a colored gemstone

   grading certificates that the defendants knew full and well they did not have the right to

   provide because the defendants GIA and co defendants own admission and advertisements

   indicated that the defendants did not provide these services so therefore Plaintiff Nathan Smith

   should have never been charged or advertised these colored gemstone grading services by the

   defendant GIA and the co defendants.

   13. Defendants

   Susan Jacques is president at the GIA Carlsbad California Lab

   Plaintiff is informed and believes and upon such information and belief alleges that

   defendant GIA is California non profit with principals offices in California. The

   GIA operates Gia laboratories and advertise on their web site as the GIA. The GIA defendant

   advertise and offer educational and gem grading services world wide for a monetary fee.

   defendants Tom Moses, works as an executive and director of Labs for the GIA defendant in
                                        10
   Carlsbad California

   Jennifer Wilson is a vice president for the GIA defendant lab in Carlsbad California

   Nathan Renfro is managing colored gemstone gemologist for the GIA defendant Carlsbad

   California lab


   14. Plaintiff Nathan Smith does not know the true names of John Does 1-50 inclusive and
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   therefore sues such defendants by such fictitious names. Plaintiff Nathan Smith is informed

   and believes and upon such information and belief alleges that each doe defendant is in some

   manner legally responsible for the damages suffered by Plaintiff Nathan Smith. Plaintiff Nathan

   Smith will amend this Complaint to set forth true names and capacities of the defendants when
   they had been ascertained along with the proper charging allegations as may be necessary.

   15. FACTUAL BACKGROUND

   The Fraudulent Colored Gemstone Grading and Colored Gemstone Diamonds Grading Schemes

   GIA defendant is a non profit whose allege mission statement is the education and

   protection of the public in relation to the gemstone industry. According to The GIA defendant
   their sole purpose

   is to protect the public and people like Plaintiff Nathan Smith who is a diamond dealer

   from fraud within the gemstone industry. The GIA defendant is a classic example of the

   fox guarding the hen house or in this instance the thieves guarding the diamond mine.

   The GIA defendants and co defendants Nathan Renfro, Susan Jacques, Tom Moses and

   Jennifer Wilson offered colored gemstone grading services and colored gemstone grading

   certificates at enormous fees even they they lack the expertise, capability and universal

   accepted standards to do so but more importantly the defendants own admissions and

   advertisements on the GIA defendant's web site stated that the defendants did not provide
                                          11
   these services .

   GIA is suppose to be a non profit charity and all their assets are to be used for charity
   for
   consumers and people like Plaintiff throughout the State of California. The GIA defendants
   and their co defendants advertise their illegal services throughout the State of California as

   experts in colored gemstone grading services and colored gemstone grading certificate

   services even though the defendants GIA laboratories had not been accredited by
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   any qualified professional laboratories accreditation service. Also the defendants lack the

   laboratories that would have allowed the defendants to do the illegal services that the

   defendants were offering to Plaintiff and the public because their was no universally accepted

   standard for grading colored gemstones and the grading of colored gemstones was too complex

   to perform according to the GIA defendants and co defendants own admissions and
   advertising
   on the defendants web site. Non of the GIA defendant and

   co defendants are experts in their field. Both defendants Tom Moses and defendant Nathan

   Renfro are the heads of the labs located at the GIA defendant Carlsbad California

   headquarters. Both defendants Tom Moses and Nathan Renfro possess no more then

   diplomas from the GIA defendant's school which is less then equivalent to a high school

   diploma.

   16. While the defendants may call themselves experts in their respected fields this is only

   self serving because neither one of the defendants have ever mined or operated a gem mine

   or made any significant gem deposit discover or scientific discovery but more importantly

   neither the GIA defendant or defendant Nathan Renfro, or defendant Tom Moses or their

   co defendants have the expertise or capabilities to grade colored gemstones.
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  THE FOUNDER OF THE GIA ROBERT M SHIPLEY'S 1948 BOOK DICTIONARY
  OF GEMS AND GEMOLOGY GIA DEFINES "DIAMONDS" AS A GEMSTONE OR GEM
  (PAGE 64) DIAMOND IS HIGHLY VALUED AS A GEM .SHIPLEY ALSO STATES
  ON( PAGE 91 )THAT THE DEFINITION OF A GEMSTONE " IS ANY STONE OF ANY
  VARIETY OF A GEM MATERIAL".

   17.The GIA defendants and co defendants also self publish gemstone magazines but this does

   not make the information contained in there publications science or fact. It certainly does not

   make the writers or authors experts in the subject contained in the publications. As these
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   defendants would leave you to believe.


   ADVERTISED In big and bold letters directly on the GIA defendants' web site

   "WHY DOESNT THE GIA ISSUE GRADING REPORTS FOR COLORED STONES?"

   18. The GIA defendant and co defendants response is

   "There is currently no broadly accepted grading system for colored stones.

   The grading of colored stones is highly complex process with countless variables

   that make a universal grading system difficult to establish."



   19. ADVERTISED IN BIG AND BOLD LETTERS BY DEFENDANT GIA AND THE CO

   DEFENDANTS TOM MOSES NATHAN RENFRO SUSAN JACQUES AND JENNIFER

   WILSON ON THE GIA DEFENDANT WEB SITE

   "DOES GIA GRADE SAPPHIRE OR COLORED STONES ?

   The GIA defendant and co defendants response to their own question

   20. "GIA DOESNT GRADE OR PROVIDE QUALITY ANALYSIS FOR SAPPHIRE OR

   COLORED STONES. GIA GEMOLOGICAL IDENTIFICATION REPORTS ASSESS THE

   CHARACTERISTICS OF A STONE(WEIGHT,MEASUREMENT,SHAPE, CUTTING

   STYLE,AND COLOR) DETERMINE IF IT IS NATURAL OR LABORATORY GROWN
                                13
   INDICATE DETECTABLE TREATMENTS AND AT THE CLIENT REQUEST WILL ISSUE

   AN OPINION ON GEOGRAPHIC ORIGIN WHEN POSSIBLE"

   21. ALSO LOCATED ON THE GIA DEFENDANT AND CO DEFENDANTS WEB SITE

   "NATURAL COLORED DIAMOND REPORTS AND SERVICES"

  "COLORED DIAMOND GRADING REPORT"
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   "FULL QUALITY ASSESSMENT ,COLOR GRADE AND CLARITY PLOT,IDENTIFIES

   NATURAL VS TREATED COLOR FOR LOOSE NATURAL COLORED DIAMONDS

   0.15 CARATS OR MORE"

   22. "THIS COMPELING EVIDENCE AND PUBLIC ADVERTISEMENT BY THE

   DEFENDANTS ON THE GIA DEFENDANT WEBSITE GOES TO THE HEART AND

   CORE OF THE GIA DEFENDANTS AND CO DEFENDANTS TOM MOSES NATHAN

   RENFRO SUSAN JACQUES AND JENNIFER WILSON FRAUDLENT SCHEME.

   23. The scheme is that the GIA defendant and co defendants Tom Moses Susan Jacques

   Nathan Renfro and Jennifer Wilson are selling and advertising colored gemstone grading

   services and certificates to Plaintiff Nathan Smith and California consumers even though
   the
   defendants know full and well that no such services or certificates exist because based on

   the GIA defendants and co defendants own admissions and advertisement on the defendants

   own web site the GIA defendants and co defendants do not offer "COLORED

   GEMSTONE GRADING SERVICES OR COLORED GEMSTONE GRADING

   CERTIFICATES"


   24. Despite this obvious admission and glaring advertisement that they did not offer colored

   gemstone grading services or colored gemstone grading certificates by the defendants on the

   defendants web site and by the GIA defendants and co defendants Tom Moses Nathan
                                            14

   Renfro Susan Jacques and Jennifer Wilson own admissions. Despite the fact that the

   defendants would be engaging in false advertisement and would be breaking numerous

   federal and state laws. The defendant GIA and the co defendants still proceeded to flood

   the market and dupe consumers and Plaintiff Nathan Smith into purchasing the defendants
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   bogus and fraudulent colored gemstone grading certificates and services. The GIA

   defendants and co defendants charged Plaintiff Nathan Smith and California consumers

   hundreds if not thousands of dollars for their bogus and fraudulent colored gemstone

   25. grading certificates and services. The defendant GIA and the co defendants had no right to
   issue or charge Plaintiff Nathan Smith or California consumers for the bogus colored

   gemstone certificates and services considering that the defendants were advertising that they
   did not offer these services and the defendant GIA and the co defendants also advertised

   that they lack the expertise and capacity to grade colored gemstones or issue colored

   gemstone grading reports. Plaintiff Nathan Smith and the California consumers were tricked
   and duped into buying the defendant GIA and co defendants services and bogus certificates .

   Plaintiff Nathan Smith honestly believed that the GIA defendants and the co defendants had

   the expertise and ability to grade and issue colored gemstone grading certificates .Plaintiff

   Nathan Smith believed the defendant GIA and the co defendants based on the defendants

   fraudulent advertisement in the California Market that they had the ability and expertise and

   universal standard to issue and sell colored gemstone grading certificates and based on this

   belief Plaintiff fail for the defendants scheme and purchased the defendants fraudulent

   colored gemstone grading services and certificates.
                                              15




   26. PLAINTIFF NATHAN SMITH 'S INVESTIGATION

   Plaintiff Nathan Smith's investigation of the GIA defendants and defendants Tom Moses

   Susan Jacques, Nathan Renfro and Jennifer Wilson only verified the defendant's GIA and the

   co defendants own admission and advertisement that the defendants lack the expertise,
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   skills, universal standard and capacity to grade colored gemstones and issue colored

   gemstone grading reports.

   Plaintiff Nathan Smith through his assistant Lewis Taheau submitted a million

   dollar or more valued colored pink gemstone diamond to the defendant GIA and co

   defendants for verification that the gemstone was a colored gemstone pink diamond.

   Plaintiff Nathan Smith was tricked and duped by the defendants false advertising and false

   advertising of colored gemstone services into using the GIA defendants and co defendants

   fraudulent and bogus and non existent services that the defendants based on the defendants own

   admissions and advertisements lack the capacity ,universal standards and abilities to offer.

    Plaintiff Nathan Smith

   was at all times and still is the rightful and full owner of the colored pink gemstone diamond.

   Plaintiff Nathan Smith who is a certified diamond grader and miner and gemologist and

   crystallographer and mineralogist had previously already verified that the colored gemstone

   was in fact a pink diamond by using a spectrometer which is standard in the gem industry.

   The spectrometer verified that the stone was a colored pink diamond gemstone and that it

   registered with the 550 nm band spectrum which is specific to pink diamonds and Plaintiff had
   the pink tetrahexahedron diamond crystal that the colored gemstone was cut from. Defendant
                                            16

   Nathan Renfro who is the manager of the GIA defendants' colored gemstone lab also verified

   that Plaintiff Nathan Smith's gemstone had the 550 nm band spectrum and Plaintiff Nathan

   Smith provided defendant GIA and the co defendants with his relevant info showing that the

   pink colored gemstone was a pink diamond. Plaintiff paid for a colored gemstone grading

   certificates which he received via the mail from the GIA defendant and the co defendants.

   As further proof that the defendants own advertisement and admissions was supported by the
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   defendant GIA and co defendants own actions and services.

   27. The GIA defendants and co defendants' colored gemstone grading certificate that they

   had sent to Plaintiff Nathan

   Smith and through his assistant had labeled a million dollar pink colored gemstone as a

   worthless 10     dollar color gemstone or amethyst instead of diamond which should had been

   the correct label and the   certificate should have reflected just that.

   The bogus and fraudulent colored gemstone grading certificate was issued by the GIA

   defendants and co defendants who claimed to be experts. But the issuance of the bogus and

   fraudulent colored gemstone certificate by the GIA defendant and co defendants proved and

   showed otherwise because Plaintiff Nathan Smith's diamond had wrongly been labeled an

   amethyst by the GIA defendant and co defendants. The defendant GIA and co defendants
   issued
   the bogus and wrong colored gemstone certificate despite being told by their own staff

   manager gemologist defendant Nathan Renfro that the stone had a 550nm spectrum which is

   specific and only for pink diamonds and despite the fact that the GIA defendant and co

   defendants were in possession of relevant information such as the picture of the actual

   diamond crystal that the stone was cut from which was also provided to the GIA defendants

   and co defendants by Plaintiff Nathan Smith. Despite the fact that the defendants claimed to be
                                               17

   experts in their field and despite the fact that any seasoned or expert gemologist or diamond

   grader would have immediately determined that Plaintiff Nathan Smith's gemstone        was a

   diamond tetrahexahedron and had the correct shape and symmetry which belongs to the cubic

   system and based on the fact that the stone was not an amethyst which belongs to the trigonal

   system . The defendants bogus colored gemstone grading certificate still labeled Plaintiff Nathan
   Smith's million dollar colored gemstone pink diamond an amethyst which was completely
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   wrong. The GIA defendants and co defendants did not have the legal right to grade color

   gemstones or issue colored gemstone grading certificates based on the defendants' own

   28. admissions and advertisement that the defendant GIA and the co defendants did not grade
   colored gemstones or issue colored gemstone grading certificates because the defendants lack
   the expertise, capacity and universal standards to do so. Plaintiff Nathan Smith was duped and

   tricked by the Defendant GIA and the co defendants into purchasing the defendants bogus

   certificates but if not for the defendant GIA and co defendants fraudulent and false

   advertisements and the targeting of Plaintiff Nathan Smith and the California consumers by
   the
   defendants Plaintiff Nathan Smith would have not being defrauded by the defendants and
   tricked
   into using their non existent fraudulent colored gemstone grading services and into purchasing

   the defendants fraudulent colored gemstone certificates.

   29.PLAINTIFF NATHAN SMIT~WAS INJURED BY THE GIA DEFENDANTS AND CO

   DEFENDANTS DECEPTIVE COLORED GEMSTONE GRADING CERTIFICATE SCHEME

   The Colored Gemstone grading services and certificates and prices offered by GIA

   defendants and defendants Tom Moses Susan Jacques Nathan Renfro and Jennifer are fake

   and not real based on the defendant GIA and the other co defendants own admissions and
                                            18

   advertisement as seen and can be found on the GIA defendants' web site. The GIA
   defendant
   and co defendants colored gemstone services, certificates and prices are fake based on the

   defendant GIA advertised statements that they could not offer color gemstone grading

   services because of the complexity of offering the service and based on the fact that no

   universal standards for grading colored gemstones existed. Simply put how could the GIA

   defendants and co defendants dare or possibly sell Plaintiff Nathan Smith a colored

   gemstone grading service and certificate and also advertise these services when in fact the GIA
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   30. defendant and co defendants knew full and well that no such service existed. The

   defendants

   whole colored gemstone grading service and pricing was fictitious and only designed to

   defraud and deceive Plaintiff and unsuspecting consumers into purchasing the defendants

   bogus and fraudulent colored gemstone services and bogus and fraudulent colored gemstone

   certificates.

   Plaintiff was tricked and duped into using the defendant GIA and co defendant services and

   Plaintiff paid for these services and was tricked into purchasing the defendant GIA and co

   defendants bogus and fraudulent certificates.

   The GIA defendants and the co defendants knew that their fraudulent fictitious colored

   gemstone grading services, advertisement and certificates were all illegal under California and

   Federal law.
   31. The GIA defendants and co defendants failed to disclose to Plaintiff the fact that the

   defendant GIA and the co defendant had decided and was advertising the fact that they

   could not and did not offer colored gemstone grading services and certificates and pricing.

   At all and relevant times the GIA defendants and co defendants has been under a duty to

   Plaintiff Nathan Smith to disclose the truth about its non existent color gemstone grading
                                                19


   services and pricing and certificates based on the defendants own admissions and
   advertisements
   as can be found on the GIA defendants and co defendants web site.

   The Defendant GIA and the co defendants fraudulently concealed and intentionally failed to

   disclose to Plaintiff Nathan Smith the truth about the advertised statements about the defendants
   not being able to offer Colored Gemstone grading services or Colored Gemstone grading

   certificates like the ones the defendants sold to and advertised fraudulently to Plaintiff Nathan
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   Smith and the Public at large.

   32. Plaintiff Nathan Smith relied upon the GIA defendant and co defendants advertised prices
   and services stating that the defendants could provide colored gemstone grading services and

   colored gemstone grading certificates. Plaintiff would not have purchased the GIA defendant
   and
   co defendants services or the bogus certificates from the GIA defendants and the co defendants

   if not for the defendants representations and false advertisement of services for colored

   gemstone grading and colored gemstone grading certificates. Plaintiff Nathan Smith was tricked
   and duped into using the defendants non existent services and bogus certificates based on the

   defendants false advertisement and false pricing and false services that the GIA defendants and

   co defendants advertised on their web site to Plaintiff Nathan Smith and the Public at large.

   The GIA defendants and co defendants advertisements and services was a switch and bait

   scheme because the GIA defendants and co defendants were well aware of the fact that they
   did not offer the services that they had sold and advertised to Plaintiff Nathan Smith .

   33. Plaintiff Nathan Smith reasonably and justifiably acted on and relied on the advertised

   services   of the GIA defendants and co defendants when Plaintiff purchased the defendant

   GIA and co defendants colored gemstone grading services and colored gemstone certificates

   and Plaintiff                             20

   Nathan Smith made the purchases fully believing that the GIA defendant and co defendants

   would be able to provide Colored gemstone grading services and a colored gemstone grading

   certificate for Plaintiff's Nathan Smith pink colored gemstone diamond. Plaintiff Nathan Smith

   and the unsuspecting Public were lured in and relied on and ensnared in the GIA defendants

   and co defendants and Plaintiff Nathan Smith and the public was damaged by the GIA

   34. defendants and co defendants fictitious and fraudulent advertised, sold and marketed

   defendants' Colored gemstone grading services and Colored gemstone grading certificate

   scheme the GIA defendant and defendants Tom Moses Susan Jacques Jennifer Wilson and
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   Nathan Renfro and their un named co defendants carried out.

   35. The GIA defendants and the co defendants intentionally concealed and failed to disclose

   material facts regarding the truth about the defendants non e~cistent colored gemstone grading

   services and colored gemstone grading certificates that the defendants were fraudulently

   advertising and selling to the public including Plaintiff Nathan Smith in order to provoke

   Plaintiff Nathan Smith and the public into buying the defendant GIA and co defendants

   fraudulent colored gemstone grading services and colored gemstone grading certificates.




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                                        CAUSES OF ACTIONS



                                   36. FIRST CAUSE OF ACTION

                       Violation of California 's Unfair Competition Laws(UCL)
                       California Business and Professions Code 17200 et seq


   Plaintiff Nathan Smith repeats an re-alleges the allegations contained in every preceding
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   paragraph as is fully set forth herein.




   The UCL defines unfair business competition to include any unlawful, unfair, or fraudulent act
   or practice as well as any unfair, deceptive, untrue, or misleading advertising. Cal Bus. Prof

   Code 17200 Each Prong of the UCL is a separate and distinct theory of liabilty. S Bay

   Chevrolet vs Gen Motors Acceptance Corp85 Cal Rptr 2d 301 316(Cal App 1999)

   Under the Unlawful Prong a practice violates the UCL if it is also violates another state and

   federal law. The UCL borrows violations of the laws and treats them as independently

   actionable. Cel Tech Commc' ns Inc vs L.A. Cellular Tel Co 20 Ca14th 163, 180,(1999)

   The UCL provides for a private right of action . VP Racing Fuels Inc vs Gen Petrol Corp 673

   F.Supp 2d 1073 1082(E. D. Ca12009) (citing Summit Tech Inc v High LIne Med

   Instructments Co 933 F. Supp 908 C. D Cal 1996)It is not necessary that the predicate law

   provide for private civil enforcement"

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   The UCL imposes strict liability. Plaintiff Nathan Smith need not prove that the GIA defendant

   and defendants Nathan Renfro Susan Jacques Tom Moses and Jennifer Wilson intentionally or

   negligently engaged in unlawful, unfair, or fraudulent business practices but only that such

   practices occurred.

   37. The "Unfair" Prong

   A business act or practice is unfair under the UCL if it offends an established public policy or

   is immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers and that

   unfairness is determined by weighing the reasons, justifications, and motives of the practice
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   against the gravity of the harm to the allege victims.


   38 .Defendant GIA and defendants Tom Moses Susan Jacques ,Nathan Renfro and Jennifer

   Wilson

   actions constitute unfair business practices because , as alleged above Defendant GIA and the
   co
   defendants both named and unnamed engaged in misleading and deceptive pricing for services

   that did not exist. This represented false advertising and advertising for fictitious services that

   did really exist and it represented selling services and certificates that could and should not

   have been sold by the GIA defendants and co defendants because based on the defendants own

   admissions and advertising the defendants did not provide the advertised services and also

   lacked the expertise and capacity and universal accepted standards to do so. The defendants

   colored gemstone services and colored gemstone grading certificates were all a fantasy and

   fictitious because the defendant GIA and the co defendants did not provide such services or

   certificates according to the defendants own admissions and advertising which could be seen on

   the defendants web site.The defendants had Plaintiff Nathan Smith and the public at large

   purchase and buy the defendants certificates and services. Plaintiff was tricked and inducted
                                              23

   into buying the defendants certificates and services because of the defendants false pricing and

   advertising and services that were offered by the defendants. The GIA defendants and
   defendants
   Tom Moses Jennifer Wilson Susan Jacques and Nathan Renfro acts and practices offended an

   established public policy of transparency in pricing and servicing and advertising and
   engaged
   in immoral, unethical, oppressive, and unscrupulous activities that were substantially injurious

   to Plaintiff Nathan Smith and the public at large.
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   39. The harm caused to Plaintiff Nathan Smith and the public at large outweighs the utility of
   the
   GIA defendants and co defendants practices. There were reasonably available alternatives to

   further the GIA defendants and co defendants legitimate business interest other then the

   misleading and deceptive conduct described herein.

   40. The "Fraudulent" Prong

   A business or practice is fraudulent under the UCL if it is likely to deceive members of the

   consuming public.

   The GIA defendants and the co defendants acts and practices alleged above constitutes

   fraudulent business acts or practices as they have deceived Plaintiff Nathan Smith and are

   highly likely to deceive members of the consuming public. Plaintiff Nathan Smith relied on

   defendant GIA and the co defendants fraudulent and deceptive representations regarding the

   colored gemstone grading services and colored gemstone grading certificates that the defendants

   were advertising and offering for sale on their web site. This representations and advertisements

   played a substantial role in Plaintiff Nathan Smith"s decision to purchase the defendants

   fraudulent and non existent colored gemstone grading services and colored gemstone grading

   certificates. Plaintiff Nathan Smith would not have purchased the defendants certificates and

   services without the GIA defendants and co defendants Tom Moses Susan Jacques Nathan
                                             24

   Renfro and Jennifer Wilson misrepresentations. Plaintiff Nathan Smith was duped and tricked
   by

   the defendants false advertisement and false colored gemstone grading service claims

   presented by the defendants on there web site.

   A business act or practice is unlawful under the UCL if it violates any other law or regulation


   41. "Unlawful" Prong
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   Plaintiff Nathan Smith also reported the GIA defendant misconduct and violations of the law

   to the California Dept of Consumer Affairs Bureau for Post Private Secondary Schools . An

   investigation was opened against the GIA defendants which resulted in violations of the law

   being found concerning the exact same allegations that Plaintiff Nathan Smith is now raising in

   his lawsuit. The Bureau for Post Private and Secondary Schools concluded that the defendants

   false advertisement and offer of fake color gemstone grading and certificate services was in

   violation of California law. The GIA defendant is awaiting enforcement and disciplinary action

   from tYie State of California concerning their alleged conduct.

   42. The GIA defendant and the co defendants acts and practices alleged above constitute
   unlawful

   business acts or practices as they have violated state and federal law in connection with their

   deceptive advertising, pricing and servicing schemes. The Federal Trade Commission Act

  (FTCA)prohibits unfair or deceptive acts or practices in or affecting commerce(15 U.S.C. 45(a)

  (1)) and prohibits the dessemination of any false advertisement . 15 U.S.C. 52(a)Under the

   Federal Trade Commission the false pricing ,servicing and advertising schemes committed by
   the defendants are describes as deceptive business practices that would violate the FTCA.

   In addition to federal Law California law also expressly prohibits false pricing schemes.

   California False Advertising Law Bus and Prof Code 17501
                                              25


   43. As detailed in Plaintiff Nathan Smith third cause of action below the Consumer Legal

   Remedies

   Act Cal Civ Code 1770(a)(9)(CLRA) prohibits a business from advertising goods or services

   with intent not to sell them as advertised. and subsection (a)(13) prohibits a business from

   making false or misleading statements of fact concerning reasons for existence of amounts of or
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   amounts of price reduction.


   44. The violation of any law constitutes an unlawful business practice under UCL

   As detailed herein the acts and practices alleged were intended to or did result in violation of

   the FTCA the FAL and the CLRA

   The GIA defendant and co defendants practices as set forth above. have misled Plaintiff Nathan

   Smith and the public in the past and present and will continue to mislead in the future.

   Consequently the GIA defendant and co defendant practices constitute an unlawful, fraudulent,

   and Unfair Business practice within the meaning of the UCL.

   The GIA defendants and co defendants violation of the UCL through their unlawful, and

   fraudulent business practices are ongoing and present a continuing threat that Plaintiff Nathan

   Smith and the PUBLIC at large will deceived into purchasing the GIA defendants and co

   defendants products and services based on the false advertising scheme and false pricing scheme

   and false o color gemstone grading services and color gemstones grading certificates scheme

   that the defendants are currently operating illegally and which is the vehicle used by the

   45. defendants to defraud Plaintiff Nathan Smith and the Public. These schemes being ran by the
   GIA defendants and co defendants created phantom colored gemstone grading services and

   colored gemstone grading certificates that leads to financial damage and harm to the public, the
                                                 26

   colored gemstone market and to Plaintiff Nathan Smith. The defendants are flooding the

   colored gemstone market with bogus colored gemstone grading certificates and also providing

   fictitious gemstone grading services to the public which are all causing harm and damage to

   public By misleading the colored gemstones with the bogus certificates thereby leading to

   financial damage to consumers and Plaintiff and the devaluation of their colored gemstones.
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   Pursuant to the UCL Plaintiff Nathan Smith is entitled to preliminary and permanent injunctive

   relief and order The GIA defendant and co defendants to cease this unfair competition as well as

   disgorgement and restitution to Plaintiff Nathan Smith and the general public of all the GIA

   defendant and co defendants revenues associated with their unfair competition or such portion of

   the revenue as the Court may find equitable.

                                  SECOND CAUSE OF ACTION
                               Violation of California False Advertisement Law (FAL)
                                California Business and Profession Code 17500 et seq

   46. Plaintiff Nathan Smith repeats and re-alleges the allegations contained in every preceding

   paragraphs as if fully set forth herein.

   California Business and Profession Code 17500

   It is unlawful for any corporation with intent to dispose of personal property

   to induce the public to enter into any obligation relating thereto to make or disseminate

   or cause to be made or disseminated from this state before the Public in any state , in any

   newspaper or other publication. or any other advertising devise. or by public outcry

   or proclamation or in any other manner or means whatever including over the Internet

   any statement which is misleading or untrue and which is known or which by the exercise of

   reasonable care should be known to be true or misleading.

                                              27


   47. The intent required by Section 17500 is the intent to dispose of property and not the intend
   to
   mislead the public in the disposition of such property.

   The GIA defendant and co defendants advertising of prices and services that did not east was a

   unfair ,untrue misleading practice. This deceptive marketing practice gave Plaintiff Nathan

   Smith and consumers the false impression that the GIA defendants were capable of providing
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   colored gemstone grading services and color gemstone grading certificates. Therefore leading to

   the impression that the GIA defendants and the co defendants could provide these services and

   certificates even though they never existed at the GIA defendants and co defendants place of

   business and the defendants could not offer or sale these services that they were illegally

   advertising and selling to Plaintiff Nathan Smith the unsuspecting Public.

   GIA defendants and the co defendants misled Plaintiff Nathan Smith and the public by making

   untrue and misleading statements and failing to disclose what is required as stated in the Code

   alleged above.

   48. As direct and proximate result of the GIA defendant and co defendant actions and
   misleading
   and false statements and advertisements. Plaintiff Nathan Smith and the Public have suffered

   injury in fact and have lost money and value in their assets because of the defendants illegal

   conduct. As such Plaintiff Nathan Smith respectfully ask that this Court order the GIA

   defendants and co defendants to restore this money to Plaintiff and the public and Plaintiff

   Nathan Smith respectfully ask that the Court enjoin the GIA defendants and co defendants from

   continuing these unfair business practices in violation of(UCL)in the future. Otherwise Plaintiff

   Nathan Smith and the public at large will suffer or will be irreparably harmed and or denied an

   effective and complete remedy.
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                                  THIRD CAUSE OF ACTIONS
                        Violation of California 's Consumer Legal Remedies Act(CLRA)
                                    California Civil Code 1750 et seq
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   49 .Plaintiff Nathan Smith repeats and re alleges the allegations contained in every preceding

   paragraphs. as is fully set forth herein.

   This cause of action is bought pursuant to California Civil Code 1750 et seq(CLRA)

   Plaintiff Nathan Smith is a consumer as defined by California Civil Code 1761(d)The GIA

   defendant and co defendants sale of services and certificates at its GIA lab location located in

   Carlsbad California to Plaintiff Nathan Smith and the general public were" transactions" within

   the meaning of California Civil Code 1761(e) The products purchased by Plaintiff Nathan Smith
   are "goods" within the meaning of California Civil Code 1761 (a)

   50. Defendant GIA and the co defendants violated and continues to violate the CLRA by

   engaging in the following practices proscribed by California Civil Code 1770(a) in transaction

   with Plaintiff Nathan Smith which were intended to result and did result in the sale of the online

   services and merchandise and certificates.

   a. Advertising goods or services with intent not to sell them as advertised

   b. Pursuant to 1782(A) CLRA Plaintiff Nathan Smith contacted the GIA defendants and

   co defendants in writing and by phone regarding their particular violations of 1770

   of the CLRA and demanded thar the defendants rectify the problems associated with the actions

   detailed above and give notice to all affected consumers of the defendants GIA and co defendants
   intent to act.

                                                ~.'

   PRAYER FOR RELIEF

   51. Plaintiff Nathan Smith is pursuing claims for punitive damages, actual damages and

   statutory   damages against the GIA defendants and co defendants and Plaintiff is also seeking

   injunctive relief against the GIA defendants and the co defendants.

   Wherefore Plaintiff Nathan Smith respectfully request that this Court award relief against
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   the GIA defendant and defendants Susan Jacques Nathan Renfro Tom Moses and Jennifer

   Wilson and the un named co defendants

   a. awarding Plaintiff Nathan Smith damages against the GIA defendant and co defendants

   b. awarding restitution and disgorgement of all profits and unjust enrichment that the GIA

   defendant and co defendants obtained from Plaintiff as a result of their unlawful unfair and

   fraudulent business practices described herein.

   c. awarding declaratory and injunctive relief as permitted by law or equity including enjoining

   the GIA defendant and co defendants from continuing the unlawful practices as set forth herein

   and directing the GIA defendant and co defendants to identify with Court supervision victims of

   their misconduct and pay them all money they are required to pay.

   d. Order the GIA defendants and co defendants to engage in a corrective advertising campaign.

   e. For such other further relief as the Court may deem necessary or appropriate.


   DEMAND FOR JURY TRIAL

   Plaintiff Nathan Smith hereby demands a jury trial for all of the claims so triable.


   dated April 2021                                        PLAINTIFF IN PRO SE
              ~5                                            NATHAN SMITH


                                           30          /       ~
